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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 MOONBEAM CAPITAL
 INVESTMENTS, LLC, and
 TRAVELERS INDEMNITY                         Case No. 2:18-cv-12606
 COMPANY,                                    District Judge Gershwin A. Drain
                                             Magistrate Judge Anthony P. Patti
             Plaintiffs,

 v.

 INTEGRATED
 CONSTRUCTION SOLUTIONS,
 INC.

           Defendant.
_________________________/


 ORDER DENYING DEFENDANT’S MOTION TO COMPEL ENTRY TO
         THE BATHROOM OF ROOM 239 (ECF No. 59)

      This matter came before the Court for consideration of Defendant’s motion

to compel entry to the bathroom of Room 239 (ECF No. 59), Plaintiffs’ response in

opposition (ECF No. 67), Defendant’s reply (ECF No. 68), and the parties’ joint

list of unresolved issues (ECF No. 84). Judge Drain referred this motion to me for

a hearing and determination. (ECF No. 63.) A hearing was held on January 8,

2020, at which counsel appeared and the Court entertained oral argument regarding

Defendant’s motion.
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      Upon consideration of the motion papers and oral argument, and for all of

the reasons stated on the record by the Court, which are hereby incorporated by

reference as though fully restated herein, Defendant’s motion to compel entry to

the bathroom of Room 239 is DENIED. The litany of reasons given from the

bench included, but was not limited to the following: (1) the experts’ reports were

completed and exchanged in June 2019; (2) the experts’ depositions were

completed in September 2019; (3) allowing a new inspection would be prejudicial

to Plaintiff; (4) the motion was filed three and a half months after the close of

discovery; (5) Defendant had multiple opportunities to conduct the proposed

inspection well before expert reports were due or discovery had closed (see e.g.,

ECF No. 67-2, Page ID.3892, 3896); and, (6) the scheduling order made clear that,

“The court will not order discovery to take place subsequent to the discovery cutoff

date.” (ECF No. 12, PageID.41.)

      IT IS SO ORDERED.

Dated: January 9, 2020
                                        Anthony P. Patti
                                        UNITED STATES MAGISTRATE JUDGE




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